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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

SAMIR NAJJARIN,                            §
     Plaintiff,

V.                                         §      CIVIL ACTION NO. 4:19-cv-4931

FOUNTAINVIEW MOBIL
CAR CARE, INC. and
SAMIH NIMRI,
     Defendants.                           §      JURY DEMANDED


                         PLAINTIFF’S ORIGINAL COMPLAINT

                                    Summary of Lawsuit

       Defendant Fountainview Mobil Car Care, Inc. (“Fountainview”) and its owner,

Defendant Samih Nimri (“Nimri”), have a business plan that includes paying non-exempt

employees on a day-rate basis, and not paying them an overtime premium for the hours worked

over 40 per workweek. Defendants’ failure to pay the overtime premium required by law allows

them to gain an unfair advantage over competitors who follow the law in their employment

practices. Plaintiff Samir Najjarin (“Najjarin” or “Plaintiff”) is one of the workers hired by

Defendants on a day-rate basis and not paid overtime pay, and brings this lawsuit against

Defendants to recover unpaid overtime that is required by the Fair Labor Standards Act

(“FLSA”).

                                  Facts Supporting Relief

                          Allegations Related to Plaintiff’s Claims

       1.     Najjarin worked for Defendants for approximately 20 years. Najjarin started with

Defendants as a mechanic, and ended his tenure managing the operations of the Defendants’

automobile service department. Until August of 2019, Plaintiff worked at Defendants’ business
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6 days per week, and after August of 2019, 4 days per week.

       2.         During the time he worked for the Defendants, Najjarin regularly worked in

excess of 40 hours per week. When he worked 6 days per week, Plaintiff usually worked more

than 60 hours per week.

       3.         Defendants paid Najjarin on a day-rate basis; that is, Plaintiff was paid the same

amount of money for each day worked, and was not paid for days that he did not work.

Defendants did not pay Najjarin an overtime premium for any of the hours he worked in excess

of 40 in a workweek.

                              Allegations Regarding FLSA Coverage

       4.         Defendant Fountainview Mobil Car Care, Inc. is a Texas corporation that is

covered by and subject to the overtime requirements of the FLSA.

       5.         During each of the three years prior to this complaint being filed, Defendants

were an enterprise engaged in interstate commerce, operating on interstate highways, purchasing

materials through commerce, transporting materials through commerce and on the interstate

highways, conducting transactions through commerce, including the use of credit cards, phones

and/or cell phones, electronic mail and the Internet.            Defendants’ business includes a

convenience store that sells goods manufactured outside the state of Texas, and sells gasoline

that originated outside the state of Texas. In addition, the employees in the service department

work on both domestic and foreign motor vehicles, most of which were manufactured outside the

state of Texas.

       6.         During each of the three years prior to this complaint being filed, Defendants

regularly owned and operated businesses engaged in commerce or in the production of goods for

commerce as defined by §3(r) and 3(s) of the Act, 29 U.S.C. §203(r) and 203(s).




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         7.    During each of the three years prior to this complaint being filed, Defendants

conducted sufficient business to exceed an annual gross volume of sales of at least $500,000

(exclusive of excise taxes) based upon the volume of business. The service department of

Defendants’ business alone often had gross sales exceeding $100,000 per month.

         8.    During each of the three years prior to this complaint being filed, Defendant’s

employees used goods, tools, equipment or materials that traveled in interstate commerce; that is,

goods, tools, equipment or materials that were grown, made or manufactured outside the state of

Texas.

         9.    Defendant Samih Nimri owned and ran Defendant Fountainview while Plaintiff

worked there. Nimri controlled the operation of the business, controlled the hours that Plaintiff

worked, and controlled the manner in which Plaintiff was paid. Nimri is the person who made

the decision to not pay Plaintiff overtime pay. Nimri is an “employer” as defined by the FLSA.

                                       Plaintiff’s Claims

         10.   Defendants were legally required to pay Najjarin overtime pay for all hours that

he worked for Defendants in excess of 40 in any workweek.

         11.   Najjarin worked over 40 hours in many workweeks that he worked for

Defendants.

         12.   Defendants did not pay Najjarin time-and-a-half for any of the overtime hours that

he worked for the Defendants. Defendants’ underpayment of the Plaintiff, sometimes referred to

as “wage theft,” allowed Defendants to gain an unfair advantage in the marketplace as compared

to other automotive repair businesses that pay their employees all of the money required by law.

         13.   The Defendants knowingly, willfully, or with reckless disregard carried out their

illegal pattern or practice regarding overtime compensation with respect to the Plaintiff. Such




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practice is a clear violation of the FLSA.

                                          Cause of Action

                 Violation of the FLSA – Failure to Pay Overtime Wages Owed

        14.     Defendants violated the FLSA by failing to pay Najjarin overtime pay for hours

worked over 40 per workweek.

        15.     Najjarin has suffered damages as a direct result of Defendants’ illegal actions.

        16.     Defendants are liable to Plaintiff for unpaid overtime compensation, liquidated

damages, attorney’s fees and costs of Court under the FLSA, for the three-year period preceding

the filing of this lawsuit.

                               Defendant, Jurisdiction, and Venue

        17.     Defendant Fountainview Mobil Car Care, Inc. is a Texas corporation and an

“employer” as defined by the FLSA. Fountainview may be served through its registered agent,

Samih Nimri, at 9206 Westview, Houston, Texas, 77055, or wherever he may be found.

        18.     Defendant Samih Nimri may be served at 9206 Westview, Houston, Texas,

77055, or wherever he may be found.

        19.     This Court has federal question jurisdiction under the FLSA, and venue is proper

pursuant to 28 U.S.C. § 1391(b), as DefendantS and Plaintiff transacted business within this

judicial district, and the events underlying this complaint occurred within this judicial district as

well.

                                         Demand for Jury

        20.     Plaintiff demands a trial by jury.




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                                    Prayer for Relief

      WHEREFORE, Plaintiff demands:

      1.    Judgment against Defendants for an amount equal to Plaintiff’s unpaid overtime
            wages at the applicable rate;
      2.    An equal amount to the overtime wage damages as liquidated damages;
      3.    Judgment against Defendants that their violations of the FLSA were willful;
      4.    To the extent that liquidated damages are not awarded, an award of prejudgment
            interest;
      5.    All costs and attorney’s fees incurred prosecuting these claims; and
      6.    For such further relief as the Court deems just and equitable.

                                        Respectfully Submitted,
                                        THE BUENKER LAW FIRM

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